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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                          :
 ACCESS 4 ALL, INC., a Florida not for profit
 corporation, and JOE HOUSTON, Individually,
                                          :
                                          :
             Plaintiffs,                  :
                                          :             Case No.
 v.                                       :
                                          :
 THE TJX COMPANIES, INC.,                 :
             Defendant.                   :
 _______________________________________/ :
                                          :
                                          :
                                          :

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

        Plaintiffs, ACCESS 4 ALL, INC., a Florida Non Profit Corporation, and JOE HOUSTON,

 Individually, on their behalf and on behalf of all other individuals similarly situated, (sometimes

 referred to as “Plaintiff” or “Plaintiffs”), hereby sue the Defendant, The TJX Companies, Inc.,

 (sometimes referred to as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation

 expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

 (“ADA”) and Florida Accessability Code ("FAC").

 1.     Plaintiff, ACCESS 4 ALL, INC.., is a non-profit corporation formed under the laws of the

        State of Florida. ACCESS 4 ALL, INC. maintains its principal office at 3200 Palm Aire

        Drive North Suite 505, Pompano Beach, FL 33069, Florida, in the County of Broward.

 2.     Defendant’s property, T.J. Maxx, 12801 W. Sunrise Blvd., Sunrise, Florida 33323 (The

        "property"), is located in the County of Broward.
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 3.    Venue is properly located in the Southern District of Florida because venue lies in the

       judicial district of the property's situs. The Defendant’s property is located in, and the

       Defendant does business within this judicial district.

 4.    Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

       jurisdiction over actions which arise from the Defendant’s violations of Title III of the

       Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and

       § 2202.

 5.    Plaintiff JOE HOUSTON is a Florida resident, is sui juris, and qualifies as an individual

       with disabilities as defined by the ADA. Plaintiff has visited the property which form the

       basis of this lawsuit and plans to return to the property to avail himself of the goods and

       services offered to the public at the property, and to determine whether the property have

       been made ADA compliant. The Plaintiff has encountered architectural barriers at the

       subject property. The barriers to access at the property have endangered his safety. The

       Plaintiff is also a member of the Plaintiff organization, ACCESS 4 ALL, INC., discussed

       below in paragraph 6.

 6.    Plaintiff ACCESS 4 ALL, INC., is a nonprofit Florida corporation. Members of this

       organization include individuals with disabilities as defined by the ADA, and are

       representative of a cross-section of the disabilities to be protected from discrimination by the

       ADA. The purpose of this organization is to represent the interest of its members by

       assuring places of public accommodation are accessible to and usable by the disabled and

       that its members are not discriminated against because of their disabilities. ACCESS 4 ALL,

       INC. and its members have suffered and will continue to suffer direct and indirect injury as


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       a result of the Defendant’s discrimination until the Defendant is compelled to comply with

       the requirements of the ADA. One or more of its members has suffered an injury that would

       allow it to bring suit in its own right. ACCESS 4 ALL, INC. has also been discriminated

       against because of its association with its disabled members and their claims.      Plaintiffs

       are deterred from, and are denied the opportunity to participate and benefit from the goods,

       services, privileges, advantages, facilities and accommodations at Defendant's property

       equal to that afforded to other individuals. Plaintiffs are aware that it would be a futile

       gesture to attempt to visit Defendant's property if they wish to do so free of discrimination.



 7.    Defendant owns, leases, leases to, or operates places of public accommodation as defined

       by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

       Defendant is responsible for complying with the obligations of the ADA. The places of

       public accommodation that the Defendant owns, operates, leases or leases to is known as

       T.J. Maxx, 12801 W. Sunrise Blvd., Sunrise, Flordia 33323, ACCESS 4 ALL, INC. and JOE

       HOUSTON have a realistic, credible, existing and continuing threat of discrimination from

       the Defendant’s non-compliance with the ADA and FAC with respect to this property as

       described but not necessarily limited to the allegations in paragraph 10 of this Complaint.

       Plaintiffs have reasonable grounds to believe that they will continue to be subjected to

       discrimination in violation of the ADA by the Defendant. JOE HOUSTON desires to visit

       the Defendant's property not only to avail himself of the goods and services available at the

       property but to assure himself that this property are in compliance with the ADA and FAC




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          so that he and others similarly situated will have full and equal enjoyment of the property

          without fear of discrimination.

 8.       The Defendant has discriminated against the individual Plaintiff and members of the

          corporate Plaintiff organization by denying them access to, and full and equal enjoyment of,

          the goods, services, facilities, privileges, advantages and/or accommodations of the

          buildings, as prohibited by 42 U.S.C. § 12182 et seq.

 9.       The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff in

          violation of the ADA and FAC by failing to, inter alia, have accessible facilities by January

          26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts

          of $500,000 or less).

 10.      A preliminary inspection of the property has shown that violations exist. These violations

          include, but are not limited to:

          Access to Goods and Services

          1. There is insufficient clearance for customers to access all parts and merchandise of the
          store, violating sections 4.3.1 and 4.3.3. of the ADAAG, whose resolution is readily
          achievable.
          2. The facility fails to adhere to a policy and procedure to afford goods, services, facilities,

          privileges, advantages, or accommodations to individuals with disabilities in violation of 28

          C.F.R. Part 36.302.

          3. The facility fails to properly maintain accessible features and equipment required to be

          readily accessible to and usable by persons with disabilities in violation of 28 C.F.R. Part

          36.211.

 11. The discriminatory violations described in paragraph 10 are not an exclusive list of the

       Defendant’s ADA and FAC violations. Plaintiffs require the inspection of the Defendant’s

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    places of public accommodation in order to photograph and measure all of the discriminatory

    acts violating the ADA and all of the barriers to access. The individual Plaintiff, the members

    of the Plaintiff group, and all other individuals similarly situated, have been denied access to,

    and have been denied the benefits of services, programs and activities of the Defendant’s

    buildings and its facilities, and have otherwise been discriminated against and damaged by the

    Defendant because of the Defendant’s ADA violations, as set forth above. The individual

    Plaintiff, the members of the Plaintiff group and all others similarly situated will continue to

    suffer such discrimination, injury and damage without the immediate relief provided by the ADA

    as requested herein. In order to remedy this discriminatory situation, the Plaintiff requires an

    inspection of the Defendant’s places of public accommodation in order to determine all of the

    areas of non-compliance with the Americans with Disabilities Act.

 12. Defendant has discriminated against the individual and corporate Plaintiffs by denying them

    access to full and equal enjoyment of the goods, services, facilities, privileges, advantages

    and/or accommodations of its places of public accommodation or commercial facility in

    violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant

    continues to discriminate against the Plaintiff, and all those similarly situated by failing to make

    reasonable modifications in policies, practices or procedures, when such modifications are

    necessary to afford all offered goods, services, facilities, privileges, advantages or

    accommodations to individuals with disabilities; and by failing to take such efforts that may be

    necessary to ensure that no individual with a disability is excluded, denied services, segregated

    or otherwise treated differently than other individuals because of the absence of auxiliary aids

    and services.


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 13. Plaintiffs are without adequate remedy at law and are suffering irreparable harm. Plaintiffs have

    retained the undersigned counsel and are entitled to recover attorney’s fees, costs and litigation

    expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

 14. Defendant is required to remove the existing architectural barriers to the physically disabled

    when such removal is readily achievable for its places of public accommodation that have

    existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an

    alteration to Defendant’s places of public accommodation since January 26, 1992, then the

    Defendant is required to ensure to the maximum extent feasible, that the altered portions of the

    facilities are readily accessible to and useable by individuals with disabilities, including

    individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities are

    ones which was designed and constructed for first occupancy subsequent to January 26, 1993,

    as defined in 28 CFR 36.401, then the Defendant’s facilities must be readily accessible to and

    useable by individuals with disabilities as defined by the ADA.

 15. Notice to Defendant is not required as a result of the Defendant’s failure to cure the violations

    by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross

    receipts of $500,000 or less). All other conditions precedent have been met by Plaintiffs or

    waived by the Defendant.

 16. Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiffs Injunctive

    Relief, including an order to require the Defendant to alter the property to make those facilities

    readily accessible and useable to the Plaintiffs and all other persons with disabilities as defined

    by the ADA; or by closing the facilities until such time as the Defendant cures its violations of

    the ADA and FAC.


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 WHEREFORE, Plaintiffs respectfully request:



    a. The Court issue a Declaratory Judgment that determines that the Defendant at the

       commencement of the subject lawsuit is in violation of Title III of the Americans with

       Disabilities Act, 42 U.S.C. § 12181 et seq.



    b. Injunctive relief against the Defendant including an order to make all readily achievable

       alterations to the facilities; or to make such facilities readily accessible to and usable by

       individuals with disabilities to the extent required by the ADA and FAC; and to require the

       Defendant to make reasonable modifications in policies, practices or procedures, when such

       modifications are necessary to afford all offered goods, services, facilities, privileges,

       advantages or accommodations to individuals with disabilities; and by failing to take such

       stops that may be necessary to ensure that no individual with a disability is excluded, denied

       services, segregated or otherwise treated differently than other individuals because of the

       absence of auxiliary aids and services.



    c. An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C. § 12205.



    d. Such other relief as the Court deems just and proper, and/or is allowable under Title III of

       the Americans with Disabilities Act.




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                                    Respectfully Submitted,

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                                    By:/s/ Philip Michael Cullen, III,




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